Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 1 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 2 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 3 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 4 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 5 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 6 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 7 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 8 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 9 of 10
Case 2:15-cv-00025-LGW-RSB Document 1 Filed 02/25/15 Page 10 of 10
